Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 1 of 9 PageID #:20




                            EXHIBIT 3
                              Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 2 of 9 PageID #:21


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OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 87682122
                                                                       Filing Date: 11/13/2017


                                                      The table below presents the data as entered.

                                           Input Field                                                                   Entered
             SERIAL NUMBER                                                              87682122
             MARK INFORMATION
             *MARK                                                                      EXITUSA
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            EXITUSA
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             PICCIOLINI, CHRISTIAN
             INTERNAL ADDRESS                                                           c/o Saul Ewing Arnstein & Lehr LLP
             *STREET                                                                    Suite 4200 161 N. Clark
             *CITY                                                                      Chicago
             *STATE
             (Required for U.S. applicants)
                                                                                        Illinois

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
             (Required for U.S. and certain international addresses)
                                                                                        60601

             PHONE                                                                      312-876-6685
             FAX                                                                        312-876-6259
             LEGAL ENTITY INFORMATION
             TYPE                                                                       individual
             COUNTRY OF CITIZENSHIP                                                     United States
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        041
                                                                                        Educational services, namely, providing classes, workshops,
             *IDENTIFICATION                                                            seminars and lectures in the field of helping individuals
                                                                                        disengage from extremist movements and ideologies.
             FILING BASIS                                                               SECTION 1(a)
                  FIRST USE ANYWHERE DATE                                               At least as early as 04/00/2014
                  FIRST USE IN COMMERCE DATE                                            At least as early as 06/00/2014
         Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 3 of 9 PageID #:22


                                               \\TICRS\EXPORT17\IMAGEOUT
   SPECIMEN FILE NAME(S)
                                               17\876\821\87682122\xml1\ RFA0003.JPG

                                               screenshot of website showing the mark and describing the
   SPECIMEN DESCRIPTION
                                               services
INTERNATIONAL CLASS                            042
                                               Social services in the field of helping individuals disengage
                                               from extremist movements and ideologies; Providing
*IDENTIFICATION
                                               counseling to individuals to assist them in disengaging from
                                               extremist movements and ideologies.
FILING BASIS                                   SECTION 1(a)
   FIRST USE ANYWHERE DATE                     At least as early as 04/00/2014
   FIRST USE IN COMMERCE DATE                  At least as early as 04/00/2014
                                               \\TICRS\EXPORT17\IMAGEOUT
   SPECIMEN FILE NAME(S)
                                               17\876\821\87682122\xml1\ RFA0004.JPG

                                               screenshot of website showing the mark and describing the
   SPECIMEN DESCRIPTION
                                               services
ATTORNEY INFORMATION
NAME                                           Marcus Stephen Harris
FIRM NAME                                      Saul Ewing Arnstein & Lehr, LLP
INTERNAL ADDRESS                               Sutie 4200
STREET                                         161 N. Clark Street
CITY                                           Chicago
STATE                                          Illinois
COUNTRY                                        United States
ZIP/POSTAL CODE                                60601
PHONE                                          312-876-6685
FAX                                            312-876-6259
EMAIL ADDRESS                                  marcus.harris@saul.com
AUTHORIZED TO COMMUNICATE VIA EMAIL            Yes
OTHER APPOINTED ATTORNEY                       Judith L. Grubner, Joseph M. Kuo
CORRESPONDENCE INFORMATION
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FIRM NAME                                      Saul Ewing Arnstein & Lehr, LLP
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       Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 4 of 9 PageID #:23


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                                             marcus.harris@saul.com; joseph.kuo@saul.com;
*EMAIL ADDRESS
                                             judith.grubner@saul.com; laura.disanto@saul.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL         Yes
FEE INFORMATION
APPLICATION FILING OPTION                    TEAS RF
NUMBER OF CLASSES                            2
APPLICATION FOR REGISTRATION PER CLASS       275
*TOTAL FEE DUE                               550
*TOTAL FEE PAID                              550
SIGNATURE INFORMATION
SIGNATURE                                    /Christian Picciolini/
SIGNATORY'S NAME                             Christian Picciolini
SIGNATORY'S POSITION                         Owner
SIGNATORY'S PHONE NUMBER                     312-572-9707
DATE SIGNED                                  11/13/2017
                              Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 5 of 9 PageID #:24


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OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 87682122
                                                                       Filing Date: 11/13/2017
To the Commissioner for Trademarks:
MARK: EXITUSA (Standard Characters, see mark)
The literal element of the mark consists of EXITUSA.
The mark consists of standard characters, without claim to any particular font style, size, or color.

The applicant, CHRISTIAN PICCIOLINI, a citizen of United States, having an address of
   c/o Saul Ewing Arnstein & Lehr LLP
   Suite 4200 161 N. Clark
   Chicago, Illinois 60601
   United States
   312-876-6685(phone)
   312-876-6259(fax)

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

    International Class 041: Educational services, namely, providing classes, workshops, seminars and lectures in the field of helping
individuals disengage from extremist movements and ideologies.

In International Class 041, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 04/00/2014, and first used in commerce at least as early as 06/00/2014, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) screenshot of website showing the mark and describing the services.
Specimen File1

    International Class 042: Social services in the field of helping individuals disengage from extremist movements and ideologies; Providing
counseling to individuals to assist them in disengaging from extremist movements and ideologies.

In International Class 042, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 04/00/2014, and first used in commerce at least as early as 04/00/2014, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) screenshot of website showing the mark and describing the services.
Specimen File1


The applicant's current Attorney Information:
   Marcus Stephen Harris and Judith L. Grubner, Joseph M. Kuo of Saul Ewing Arnstein & Lehr, LLP
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   United States
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   marcus.harris@saul.com (authorized)

The applicant's current Correspondence Information:
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   Saul Ewing Arnstein & Lehr, LLP
   Sutie 4200
                 Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 6 of 9 PageID #:25


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    marcus.harris@saul.com;joseph.kuo@saul.com; judith.grubner@saul.com; laura.disanto@saul.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant, the applicant's
attorney, or the applicant's domestic representative at the e-mail address provided in this application. I understand that a valid e-mail address
must be maintained and that the applicant or the applicant's attorney must file the relevant subsequent application-related submissions via the
Trademark Electronic Application System (TEAS). Failure to do so will result in the loss of TEAS Reduced Fee status and a requirement to
submit an additional processing fee of $125 per international class of goods/services.

A fee payment in the amount of $550 has been submitted with the application, representing payment for 2 class(es).

                                                                    Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

               The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
               The mark is in use in commerce on or in connection with the goods/services in the application;
               The specimen(s) shows the mark as used on or in connection with the goods/services in the application; and
               To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

               The signatory believes that the applicant is entitled to use the mark in commerce;
               The applicant has a bona fide intention to use the mark in commerce on or in connection with the goods/services in the
               application; and
               To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Christian Picciolini/ Date: 11/13/2017
Signatory's Name: Christian Picciolini
Signatory's Position: Owner
Payment Sale Number: 87682122
Payment Accounting Date: 11/13/2017

Serial Number: 87682122
Internet Transmission Date: Mon Nov 13 13:26:27 EST 2017
TEAS Stamp: USPTO/BAS-XX.XXX.XXX.XX-2017111313262783
4307-87682122-51064ae41f2a3cbe879313b790
bb67e15c9f9efc0d4416a3ebf4e7a235143e82-C
C-23401-20171103100243444888
Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 7 of 9 PageID #:26
Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 8 of 9 PageID #:27
Case: 1:18-cv-06967 Document #: 1-3 Filed: 10/17/18 Page 9 of 9 PageID #:28
